           Case 1:14-cr-00103-JLT-SKO Document 127 Filed 03/11/16 Page 1 of 3



 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KATHLEEN A. SERVATIUS
     Assistant United States Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, CA 93721
 4   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 5
     Attorneys for Plaintiff
 6   United States of America

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          1:14-CR-00103-LJO-SKO
12                                Plaintiff,            PRELIMINARY ORDER OF FORFEITURE
13                         v.
14   LARRY DUNCAN,
15                                Defendant.
16

17           Based upon the entry of a guilty plea by defendant Larry Duncan, it is hereby ORDERED,

18 ADJUDGED, AND DECREED as follows:

19           1.     Pursuant to 21 U.S.C. Section 853(a), defendant Larry Duncan’s interest in the following

20 property shall be condemned and forfeited to the United States of America, to be disposed of according

21 to law:

22                  a.     One 10 carat yellow gold 28” long rope chain necklace, with 10 carat yellow gold
                           pendant depicting an agent and set with diamonds;
23
                    b.     One 10 carat yellow gold 36” long ball-link necklace, with 10 carat yellow gold
24                         pendant depicting Jesus’ head and set with diamonds;
25                  c.     One 10 carat yellow gold 34” long curb-link necklace, with 10 carat yellow gold
                           pendant depicting Jesus’ head and set with diamonds;
26
                    d.     One 10 carat yellow gold 38” long square open foxtail-link necklace, with 10 carat
27                         yellow gold pendant depicting a cross and set with diamonds;
28 ///
                                                        1
29                                                                      Preliminary Order of Forfeiture

30
           Case 1:14-cr-00103-JLT-SKO Document 127 Filed 03/11/16 Page 2 of 3



 1                  e.      One 18 carat yellow gold Rolex President Day-Date watch set with a diamond dial,
                            diamond bezel, and a jubilee bracelet, and
 2
                    f.      One 10 carat yellow gold grill set (composed of both the top teeth cap grill and the
 3                          bottom teeth cap grill) and set with diamonds.
 4          2.      The above-listed property constitutes or is derived from any proceeds obtained by the

 5 defendant, directly or indirectly, and is property used, intended to be used, in any manner or part, to

 6 commit, or to facilitate the commission of, or was in a conspiracy to commit, a violation of 21 U.S.C. §§

 7 846 and 841(a)(1).

 8          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to seize

 9 the above-listed property. The aforementioned property shall be seized and held by the United States

10 Marshal Service, in its secure custody and control.

11          4.      a.      Pursuant to 21 U.S.C. Section 853(n) and Local Rule 171, the United States shall

12 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

13 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

14 posted for at least 30 consecutive days on the official internet government forfeiture site

15 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice

16 to any person known to have alleged an interest in the property that is the subject of the order of

17 forfeiture as a substitute for published notice as to those persons so notified.

18                  b.      This notice shall state that any person, other than the defendant, asserting a legal

19 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the
20 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

21 within thirty (30) days from receipt of direct written notice, whichever is earlier. 21 U.S.C. § 853(n)(2).

22          5.      The government, in its discretion, shall conduct discovery, including written discovery,

23 the taking of depositions, and the issuance of subpoenas, in order to identify, locate or dispose of

24 property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal Rules of Criminal

25 Procedure.
26 ///

27 ///

28 ///
                                                           2
29                                                                         Preliminary Order of Forfeiture

30
           Case 1:14-cr-00103-JLT-SKO Document 127 Filed 03/11/16 Page 3 of 3



 1          6.     If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

 2 will enter a Final Order of Forfeiture pursuant to 21 U.S.C. Section 853(a), in which all interests will be

 3 addressed.

 4
     IT IS SO ORDERED.
 5

 6      Dated:    March 11, 2016                               /s/ Lawrence J. O’Neill
                                                        UNITED STATES DISTRICT JUDGE
 7

 8
 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25
26

27

28
                                                           3
29                                                                          Preliminary Order of Forfeiture

30
